

People v Courteau (2017 NY Slip Op 09104)





People v Courteau


2017 NY Slip Op 09104


Decided on December 22, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2017

PRESENT: WHALEN, P.J., SMITH, CARNI, DEJOSEPH, AND CURRAN, JJ. (Filed Dec. 22, 2017.) 


MOTION NO. (1083/17) KA 15-01059.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJESSICA N. COURTEAU, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for reargument denied.








